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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                        Case No.: 1:20-cv-23564-MGC

    DAVID WILLIAMS and CAROLL
    ANGLADE, THOMAS MATTHEWS,
    MARTIZA ANGELES, and HOWARD
    CLARK, on behalf of himself and all others similarly
    situated,

    Plaintiffs,

    v.

    RECKITT BENCKISER LLC and
    RB HEALTH (US) LLC,

    Defendants.



    Theodore H. Frank,

    Objector.
                                                               /


                                            NOTICE OF APPEAL
           Objector Theodore H. Frank appeals to the United States Court of Appeals for the Eleventh
   Circuit from the Order Adopting Magistrate’s Report and Recommendation (Dkt. No. 140), entered
   on March 17, 2022; and all opinions and orders that merge therein.

   Date: April 15, 2022                              Respectfully submitted,

                                                     /s/ John M. Andren
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                                   CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing was filed with the Court via the
   CM/ECF system, which will send notification of such filing to all attorneys of record.

                                               /s/ John M. Andren
                                               John M. Andren




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